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                    FILED: BROWARD COUNTY, FL Brenda D. Forman, CLERK 6/14/2022 2:04:26 PM.****
                       Case 22-14583-SMG                Doc 19-3      Filed 07/01/22       Page 1 of 1

                                                                                           In the Circuit Court of the
                                                                                             17th Judicial Circuit in and for
                                                                                            Broward     County, Florida



                                                                                            Case No.CACE-20-015682
 SHOMA HOMES AT NAUTICA SINGLE FAMILY NEIGHBORHOOD
                                                                                            Division:21

 Plaintiff

  VS.
 SMITH, MARISA C
 Defendant

                                                        Certificate of Sale

 The    undersigned, Brenda D. Forman, Clerk of the Court certifies that notice of public sale of the property described
                                                        Broward   Daily Business Review, a newspaper circulated       in Broward
 in the order of final   judgment was published in
                                                                                 on 06/14/2022 the property was
 County, Florida in the manner shown by the proof of publication attached and
 offered for public sale to the highest and best bidder for cash. The highest and best bid received for the property            in

 the amount of $132,000.00 was submitted           by MIRETG INVESTMENTS            to whom the    property was sold. The
 proceeds of the sale     are   retained for distribution in accordance with the order or final   judgment or law.


 Witness my hand and the seal of the court         on   June 14, 2022.




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                                                                       Brenda D.           Clerkofthe           &    County   Court
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                                                                                      Broward County, Florida




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